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EXHIBIT “D
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

PACE-O-MATIC, INC.,

Plaintiff, :
v. ; Docket No. 1:20-cv-00292

ECKERT SEAMANS CHERIN & MELLOTT,
LLC,

Defendant.

 

DECLARATION OF MARK S. STEWART, ESQUIRE

I, Mark S. Stewart, Esquire, hereby declare and state as follows:

1. I am an attorney licensed to practice law in the Commonwealth of Pennsylvania
and the State of Maryland.

2. I am a member of the law firm of Eckert Seamans Cherin & Mellott, LLC
(“Eckert”), the defendant in the above-captioned action, with an office in Harrisburg,
Pennsylvania.

3. I am the Co-Chair of Eckert’s Hospitality and Gaming Groups, and I concentrate
my practice on all aspects of gaming law and civil and administrative litigation. I represent a
number of gaming clients in Pennsylvania.

4, From early 2017, when Eckert agreed to represent plaintiff, Pace-O-Matic, Inc.
(“POM”), in legal or regulatory matters in the Commonwealth of Virginia, I and others at Eckert
believed that my former law partner, Thomas Lisk, had obtained an informed, advanced conflict

waiver that consented to Eckert representing clients in matters adverse to POM in Pennsylvania.
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5. Through Mr. Lisk’s September 1, 2020 deposition, I learned that, while POM
signed a written advanced waiver in the engagement agreement with Eckert, Mr. Lisk did not
actually discuss a conflict waiver with POM.

6. Because Mr. Lisk purportedly failed to discuss with POM a conflict waiver of the
nature and scope that was expressly intended and required by Eckert when the potential
representation of POM was being considered by Eckert in 2017, I will not represent any party
adverse to POM consistent with Pennsylvania Rules of Professional Conduct 1.7 and 1.9.

7. To that end, and despite the fact that POM is not a party to the case and is not
directly adverse, Eckert and I have withdrawn as counsel in the matters that we initiated on
behalf of a gaming client, Greenwood Gaming and Entertaining, Inc. d/b/a Parx Casino (“Parx
Casino”), against a number of distributors of POM’s games pending in Bucks County and
Montgomery County, Pennsylvania.

8. Despite the fact that there has been virtually no activity in the matters for almost a
year and Parx Casino has not yet been given leave to intervene by the Commonwealth Court of
Pennsylvania, Eckert and I will not communicate with counsel for the Commonwealth of
Pennsylvania, including the Department of Revenue and the Pennsylvania State Police, in the
actions that POM commenced in the Commonwealth Court of Pennsylvania.

9. Despite the fact that Parx Casino has not yet been given leave to intervene by the
Commonwealth Court of Pennsylvania, Eckert and I will not advise or consult with counsel for
the proposed interveners on issues concerning the actions that POM commenced in the

Commonwealth Court of Pennsylvania.
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10. Eckert and I will not advocate legislatively, judicially or publicly that POM’s

devices are not based predominantly upon skill.

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MARK S. STEWART, ESQUIRE

 

Dated: February 23 , 2021
